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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

MOUIZ EL MAKHLOUFI            )
                              )
     Plaintiff,               )
                              )        CIVIL ACTION NUMBER:
v.                            )
                              )
STRATEGIC FINANCIAL SOLUTIONS )
LLC;                          )
THE COMMONWEALTH LAW          )
GROUP;                        )
LAW OFFICES OF AMBER FLORIO, )
PLLC;                         )
AMBER FLORIO;                 )
THOMAS ROGUS;                 )
GLOBAL CLIENT SOLUTIONS, LLC; )
and                           )
GLOBAL HOLDINGS, LLC;         )
                              )
     Defendants.              )
                              )


                 Exhibit A
       Commonwealth Law Group Contract
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THE COMMONWEALTH LAW GROUP                                                                     RETAINER AGREEMENT

Th1s document 1~ a legd!ly binding dgrcc-ment -.:onlirming rhat you ("'Clie-nt"') and Commonwc-alth L~gal (iroup
i .. Commonw~alth .. l wish to t(mn an c\tlomey Cli~nt rc·lmionship.

Pursuant to this Agreements tcnns. Commonwealth will assist you with the rcsulutJon of hurdensomc debt. and
as su.:h. the Representation contcrnplated m this Agreement is referred to as a Debt Resolution Program. In
rdurn for Commonwealths sen·Jccs, you agree to pay specific amounts to Commonwealth, as specified in this
Agreement and Hs enc losurcs.

Client is rcta1ning Commonwealth to help n:sol\c specific debts that Client cannot reasonably            sat~sfy    accordmg
to exi~ting tt.:nns. These ~pt.:cific dc:bts are li~ted in thiS Agreement.

Client must pay as agreed for Commonwealth to operate as contemplated 1n tim Agreement. The law firm puts
in place a customized strategy based on the individual client and their debts in order to effectuate the
goals of the law firm's representation. Following this strategy, Commonwealths ability w rcsolw the
proposed   d~bt   load is   projt.~cted l<.l   take a numb(!r of months anJ an amount of payments listed in this document.
Any ,·arianc~ from this strategy, mcludmg Client's failure w make timely payments. will affect
Commonwealths ability to perform as agreed.

The spectlics of l'onunorm ealth and Clients responsibilities and expectations with regard to this relationship
an: discussed in thi:-. Agr~cment m the following nnkr:

    L COMMONWEALTHS LEGAL SERVICES
    2. FEES AND COSTS OF SERVICES
    J. TERMINATION OF THIS AGREEMENT
    4. ADDITIONAL TERMS AND DISCLOSURES
    5. ARBITRATION AGREEMENT A!\'D CLASS ACTION WAIVER



                                  Following tbe Attorney I Client Agreement are various
                                notices, disclosures, schedules, lists, and authorizations
                                 related to Ibis Agreement's terms. The contents of all
                                  documents enclosed are material to Commonwealths
                                 representation of Client, and are incorporated into this
                                                             Agreement.




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THE COMMONWEALTH LAW GROUP                                                                     CLIENT INFORMATION

                                                   Client Information

      CliENT
      Full Name:                     DOB:                                             SSN:
     \1outz Umakhklltfi              06 30 I %_1                                     0~11-XU-~~-1.>
      Address:                       Cuy                                              State, Zip Code:
     106 Fair Anl's Cm_-k           \fysti(                                          CT        0!1):'5
     Home Phone:                     Cell Phone:                                     Email Address:
     (X60i    ~X4-21JX7                                                              muuiz~!   !J63.u g:mai!   c~)!ll



      CD·CLIENT
      Full Name:                     DOB:                                            SSN:


      Address:                       Ciry                                            State, Zip Code:


      Home Phone:                    Cell Phone:                                     Email Address:




    PROPOSED PROGRAM INFORMATION

     Total Unsecured Debt:                                  *Estimated Program Length (months):
     S--lS.402.00                                           -lS
     Date of First Payment:                                 Programs Payment Amount:

     10 3;2111S                                             SHOJ.6!
     *Estimated Total Payments:                             Law Flrm Contact:

     $38.4 77.10                                            John Carrozzdla



        * The estimates provided above are jus1 that- good faith estimates. The actual results vary on a case by case
          M




        basis. In addition, the accuracy of these estimates is dependent on the accuracy of the information that you
        provide, the terms of the settlements we are able to negotiate Wlth your creditors and on your ability to save a
        consistent amount each month.




b P1r;;
e/ lcrr; o
PRIVATE AND CONFIDENTIAL                                                                                   Page 3
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THE COMMONWEALTH LAW GROUP                                                                   RETAINER AGREEMENT


                                      I. COMMONWEALTHS LEGAL SERVICES

Commonwealtlh 'crvt<:e' arc pertcmned by a group of prufc"ionals. includtng attorneys, paralegals,
negotiators. assistants. and oth~rs. Attom>?y~ d1r~ctly supc:ni:,-.: tht: acti\-itil:~ the: do not directly pcrt\)nn.
Conunonwca!th will pcrfL'fTn the various s~rvic~s Jcscrib~d in this secti\m.



1.1. Debt Analysis
Commonwealth will review Client's personal hardship and other debt ctrcumstanccs and tornwlatc a plan to
negotiate improved ternK

1.2. Negotiate and Resolve Client Debt
Commonwealth will represent Chcnt m the negonation and resolution uf Ullsecured debts listed in the Creditor
Ltst endused with thi., Agreement. Representation related to any <kbt IS E!Overncd by the promises and
limitations d1scusscd throughout this Agre~mcnt.

1.3. Litigation Defense Services
Commonwealth will advise and represent Cltents in their dd'ense of litigation initiated by creditors or collectors
to re<:m er debts listed in this Agreement. Cllmmonwcalth attorneys arc immediatdy notified of litigatiOn, and
may be assigned to address any litigation sened on Client after the effcctl\e date of this Agreement. Litigation
serYlccs arc further condttioncd and lunih:d b} other tcnn~ nfthis Agreement. cin:umstancc:-. of practicality. and
jurisdictional rules.

1.4. Sen-ices Outside Scope of Representation
Common"ealth's services are limited to those specitically ltsted abO\e ThiS means that Commonwealth will
not provide act:ounting. financial planning. l'f tax advic~. Commonwealth docs not cngagt: in credit repair or
credit reponing. Commonwcalth docs not attempt to resolve debts on which a judgment has been obtained.
Bankruptcy services. and defense or prosecution of any debt not listed in this Agreement are outside the scope
ofr~prcs.cntation. Further. Commonw;;alth cannot guarantee that creditor or collector harassment "'ill L·~asc at
any point in the representation. However. under some circumstances, Commonwealth may take appropnate
legal action against cre-ditors or coll\!ctors engag~d in dkgal actiYit:-·.

1.5. Work Performed by Contracted Parties
Commonw~alth       Legal <imup nJa) contract work rdating to thts Agr~cmcnt to third panies for such tasks
tncluding. but not limited to customer service and debt negotiations. Commonwealth attorneys will supervise
all third-party entities to ensure 12011trw.:tcd serv1ct::~ comply with Commonwealth's rules anJ regulation~.




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THE COMMONWEALTH LAW GROUP                                                              RETAINER AGREEMENT
1.6. Litigation Defense Services

lr~dnur> and or d~bt collectors may tile lawquttsl against Client 1n order to collect non-payment of owed
Jebtts). Commonwealth will provide Litigauon Defense Scr.iccs Ill the event the client rccci,cs a Summons
and Complatnt. Jhe l.tllgatll1n Defense Service will mdude \Hlrk done Ill courT and or ncgotwtioth out of
courT. C<l!Tli110nwealth's Litigation Defense Seni<·cs and limitations include:


Servtces                                                     Conditions and Limitations

 I. Commonwealth will receiv.:. re\ iew. and analyze         I. :\ !l pages of any summons. complaint, exhibits.
   any summons. complaint. petition_ application. or            petitions. and or other pkadings scr.·cd to th~
   other opemtiv·e pleadmg the di,·nt has recei\ ed.            client must be submitted to Commonwealth.
2. Commonwealth will evaluate potential legal
                                                             1
   defenses to the Plamttff creditors suit.                      Allla\\ suit paperwork must be submitted to
3. Commonwealth will revi..-w. analyze, and                      Commom;calth no less than iifieen 1151 days
   counsel Client regarding colkction activ1ty and               prior to the lawsuit respons'-' date. or nnmediatdy
   debt restructuring associated with the litigated              upon the client's receipt of lawsuit paperwork.
   debt.                                                     ) If the litigation is in a State that permits less than
4. Commonwealth will engage with the Plaintitf or              tifiecn ( 15) days notice. all lawsuit paperwork
   its hired legal counsel on Clients behalf to                must be submitted no less than se,en (7) days
   negotiate a resolution of the litigation.                   prior to lawsuit response date.
5. Commonwealths artorneys may deterrnine that a
    valid defense exi . . ts to the law suit. or that thr:   4. All lawsutt paperwork must be submitted t<>
   suit is dcti!ctlvc in som~ way fa\orablc to Client.          Common\\·calth Legal Group at their fax number
   This determmation varies by JUnsdiction. current             (ROO) 385-3670 or ematl address
   kgal trends. and the personal knowledge of the                c:-,(a-Common\\-·ealrhlt?-galgroup.com
   local attorney.                                           5. The "Retainer Fcc:· outlmcd m the enclosed
6 If Commonwealths a"1gncd attorney dctennmcs                   Payment and Fee schedule or payments must be
   that Client is likely to gain a favorable result             current on any agreed rayment plan specific to
   through continued dctcnsc of the litigation. he or           the "Retainer fee" in order for Commonwealth
   she will rrcpare and tile responsive pleadings on            to provide Litigation ser.·ices.
   the Clients behalf: appear at subsequent courT
                                                             6 Commonwealth is not req ulred w prvvide
   pn.H:~edings. anJ continue defense through
                                                                 Luigation Ser.·tces on any lawsuit of which the
   \ arious stages of litigation, including trial. if
                                                                 Client had knowledge prior th~ execution of this
   prudent.
                                                                 Agreement with Commonwealth. Knowledge of
7. If Commonwealth dctcnnincs in its sole
                                                                 a lawsuu IS typically determined by service of
   discretion that it does not ha' e a good faith has is
                                                                 proces' (deltvel) of a kgal complaint to a party
   to asst:rt a dctt!ns~ to th~ lingution on Clienrs
                                                                 being sued).
   behalf. Commonwealth will communicate this
   dctcm1ination to the Cli\,.·nt and d1scuss                7 Cnmmonwcalth "ill not provide Litigatton
   alternative potential strategies for resoh ing the          Services related to debts which are not included
   litigation. In such cas~s. Commonwealths                    in this Agreement. or any attachments or
   strategy may include. but would not be limited to,          amendments to this Agreement made prior to
   engaging in out of court negotiatiOns dtrectly              Clients knowledge of the law suit.
   with the creditor. l'o fee for Litigation Oefense
   Scmces will be charged if Commonwealth
   rlt"tt"rmine-s it c;.annot provide a defense to the
   litigati<>n.

PRIVATE ANO CONAOENTlAt                                                                              Page 5
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THE COMMONWEALTH LAW GROUP                                                                           RETAINER AGREEMENT

 1.7. Bankruptcy and Other Alternatives

 Commonwealth may d1scuss alkmati\ e kgal route~ in the e\-~nt of changing ur..:umstan..:c~ on any l.!'nrollcd
      .--.u\,.;"h us Chapt~r 7 & IJ fldnkrupt>.:H.::~.
 d1.:bt(:-) •


 1.8. Conditions of this Agreements EffectiYeness
 a.    fht> Agreement docs not take effect. and Commonwealth ha, no obl!gation to provide any scniccs.
      until both Client and Commom\eahh have ..:xccutcd a eopy of this Agreement and ~ud1 copy i~ ddi"~n:d
    to both Parties.
 b. Further. this Awcement docs not take dl'ect until Client met. in-person or by telephone. with a
    Commonwealth attomcy m client', state and the Commum;calth attorney has revrewed and approwd
    client for representation by Common\\ calth.

 1.9. Assistance in Dealing with Difficult Creditors

 It is important  understand that Commonwealth cannot force a creditor to negotiate your debt Although
                   tll
 L'ommon\\-ealth will not aecept a debt into lh~ program from creditors it knows \Vill not ncgotiatt.>- debts, there
 an: tim~.?s \\ h •..-n a crcJitor that has ncgotiat..:d with Commonw::alth in the past may n:fus.: to negotiate a debt.
 In such instances. the Common\\ r:alth attorneys or negotiators may reqUire your a~ststancc m participating in
 the negotiation process. Commonw~alth p~rsonncl will prmidc you with the infonnatl(ln you will need in
 order to contact your creditor directly in an elTon to reach a satisfactory settlement. If Commonwealth cannot
 :mcccssfully ncgDtiatc a dcht fur : uu. c\t:ll \\ ith   )-OUr   a . . sistanc..:. it will refund to you th..: portion of your fcc . .
 associated with that debt.

1.1 0. Timing and Amount of Settlement Offers:
Commonwealth will hegin contacting        )OUr   crt:ditors a . . soon as we dct~nnint: that a good faith offer to settle a
grvcn debt. whether on a lump-sum or installment ba,;is. may be made. with such factor> as the creditor's
settlement policies. the rate of account accretion, the size of each debt and how close a debt may be to charge-
off Some creditor> prefer that they not he contacted until you have accumulated sufticicnt funds in your
Dedicated Account to allow a negotiated resolution within their historic nom1s. \Vhilc settlement guidelmes
differ widely among creditors. an ct;.;L·umulation of 25°·o of tht.! then-curn:m balance of a debt will n~.)mlally
enable us to make a good-fanh (lffcr to settle that debt.




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THE COMMONWEALTH LAW GROUP                                                                                                      RETAINER AGREEMENT


                                                              2. FEES AND COSTS OF SERVICES
Cornnwn\'-·c:Jith...: l~"'c' ar~~ payahl~ a~..-cording to th<: follo\l.:ing term~.                          No fl.!es arc collected hv Commonw~alth
until those· t~es w~rc camcd through s~ttlcment of Clients resp~cti' c debt.                                                            .

2.1. Service Cost- Related Sen·ices
Th~ Retamcr he is S 1.650. This fee covers the initial work pcrfiJmlcd hy attorneys in cratiing and reviewing
your specitic deht negotiation plan. as wdl as their continued legal work in securing or approving settlements.
counseling you on the phone. providmg litigation services. and any other kgal tasks your circumstances
reqwre.
In addition to the legal servic:cs prm idcd by Commonwealth. there are non-legal services related to the
tmplcmcntation. management and maintenance of Client's debt negotiation plan pcrt(Jrmcd under the
supef\ is ion of Commonwealth ·s attorneys. These services are provided at a cost of 25°o of the Clients total
st·hcdulcd ckht (hereinafter referred to as s~r\ I C.: Cost).
Commonwealth has a non-exclusive rectprocal referral agreement wJth independent contractors to provide non-
legal s~rviccs und!.!r Commonwealths direct supervision. Rcpre!'cntati\ \!S of such independent l'Ontractors
cannot and wtll not prm tdc any legal ad,·icc to the Client. and any such advice will only be commumcated to
Client by Commonwealth. Although these sen ices ar~ performed under Commonwealths supcf\ision. a court
or couns mtght detcm1inc that there is no attomey-clicnt rclatwnship between Client and the independent
contractor representatives in regard to these sen ices. anJ wmmuntcauons between Client and the independent
contractor rcrrcscntutivcs might not bl! protected hy attorney-client pri\ ilcgc:.
Together. the Retamer Fee and Sen ice Cost total Sl650 plus 25".o of the toral amount of debt you enroll in the
Comnt\)n'.vcalth program.

 2.2. Program                    Detail~



      ~-T-·l _a_l_l._n_"_' _.,_" _' _l
                                     -D-dH:                                                                                 -4-8------~---- I
                                              $48_.4_0_2_.0-0---------l-F-''_·_l'_n_•g_'_"'_"_l_.,_·n_g-tl_"_"_''_' _"_h'_'_·


      L:""
      I
                  ot r rt>ll'a) m<nt 10/3/2018                                           .\lo"thly Payment Amount $801.61
                                                                                                                                           II
      !   hwn.lted         Tot" P.t)lllCnt' $38.477.10

      '-------                           --------·~------...L.---------------___j

      Tht' estimatl"s providt'd abon• art just thou - good t"aith estimates. The actual rt'sults Hlf!' on a case h~ case basis. In
      addition. the accurac~ of thl~l: estimates is dt'pendent on the accuracy of the information that ~ou pro\idl\ the terms of
      the settlements              \\t'   are able to negotiate with      ~:our   crfflhor\ and on     )OUr   abilit) to !l.a\'t' a consistent amount each
      month.

 2.3. When and How Commonwealth's Fees are Paid
 We do not ..:harge any fee for our Debt Resolution services unless and until a Debt is successfully
 resolved. Our fcc is due upon the occurrence nfallnfthc fnllo\.,.:ing: I) we negotiate, either through our
 own efforts or as a result of our debt resolution strategy. the settlement of a Debt. 2) you agree to the terms
 of the settlement, and 3) you make a paymentto'A'ard the settkment of the Debt (unless the terms of the
PRIVATE AND CONFIOENT1Al                                                                                                                    Page 7
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THE COMMONWEALTH LAW GROUP                                                                        RETAINER AGREEMENT
  s.:ttkm.:m rcyturc no payment bj y<>U. in wl11ch (<be we \\ould still he enutkd to recet\e our ke for
  re>oh tng that Del>!. \\'e "til charge the pwportionate ,hare of the Retainer Fee for that Dehl (based on the
  ~nru!lcU       anwunt of Dcht) and ~5';··~, ~1f !h.: cnrolkJ amoum of D.:ht on the F.ffct'tl\·c Date &s rdlcl:tcd m the
  atta~h~d       ( ·rcditnr Li-;tmg. subject tn an) modifications which may o.:cur     dS   Jiscus..;ed in Section 2_Y and'or
  :' 1(1.

             .\ .. \!though the settlement <>llers we negottate. either through our own efforts ur as a result of <>ur
                  debt management strateg}. may ha' c tern1s that require a single payment ( !()!' e.\ample. a S I .SOU
                  lump sum payment Ill scuk a S-1.000 Dehtl or that require a number of payments ( t<>r example.
                  payments of SSOO per month t(>r eight munths to sct!le aS I0.000 De btl. our fcc t(,r the set!lcment
                  of einy Debt IS earned. and i~ charged in fulL at thl· time you make the first paym.:-nt w a Creditor
                  <lll an agreed-upon set!lcment of that Debt.

             B     \Vc \Viii pre~.:nt you with a ~cnkm~nt off~r one.: you ha\\:! aLcumulated suftici.:nt funds m your
                   Dedicated Account to pay both the negollated amount lll the senlement and our fee associated
                   with that D.:bl. Our fees, once earned. will be paid to us by yuur dedicated account prO\ idcr
                   based on your authonzation in this Agreement
 2.4. Application of Clil"nt Fund•
 All ti.mds paid by Client will be saved m Cltent's Dedtcated Account held by a tlmd party dedicated account
 holder (S'-'c Dedicated Account Agn:cmcntJ for usc in making payments toward an) s~ttlcrncnts negotiated
 and pay1ng Commonwealth· s li:es under the terms of thts Agreement.

 All funds in Cltent's Dedicated Account shall remam under Client's control at all tunes. and may be
 withdrawn hy Client at any time without penalty. lr Client nottties Commonwealth or the third party
 Jedtcated account IH>Ider of a request tow ithdraw thetr funds. Client shall be entitled to receive all funds
 m the Dedicated Account. other than any funds that ha\ e pre\ iously been earned by CtHnmonw .:al!h under
 the terms of this Agreement. w ithm seven 17) bustne» Jays of such request.

 It is strongly recommended that ('!tent retain all t[mds a' ailable for ,~nlement payments and fees to allo"
 Commonwealth the greatest ability to effectl\ ely reprc>ent Chen! unda the tenns ,,f thts Agre.:ment.
 2.5. Method of Payment
 l'ndcr thts Agreement. Client agree>:
     a.      to have Clients fees and costs a~ agreed to in this Agn:cmcnt, to he automatic:ally drafted by Client's
            lhtrd party dedicated account holder trom Clients hank account into an authorized Federal Deposit
            Insurance Corporation ("FDIC') insured bank account held in Clients name (the "Dedicated
            Account" I with Clients fir-:a payment to ~tart on J_!!_}~~-(~~--·   and   thereafter    each   month       on   the
            day; and
 2.6. Early Program Completion and Pre-Payment of Program Fees
 If Common\\calth resol\'cs all debts list.:d in thi, Agreement before the scheduled date of Clients final
 Ser\'tcc Cost payment, Client must continue to make all payments for the Sef\tce Cost and Retamer outlined
 in this Agrc~mcnt.

 2.7. Costs of Litigation Services- Court Costs and Trial Preparation Costs
      a. Cltcnt must pay ali costs associated with Lttigalton Services. mcludtng the payment of any cou11 ftling
         fees or any other court-imposed costs associated with the litigation. These costs val"} by jurisdictton.
            Ctmmlon\~:t..•alth will \:OT advan\,;'C ~w.:h cosb- Client acknowkdgcs that fuilmg tll timely pily

            neccssaf) costs may ha\'e ad\ crse consequences. including but not limited to entry. of judgment against
            Client in the litigatwn.
PRIVATE AND CDNF10ENT1Al                                                                                       Page 8
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THE COMMONWEALTH LAW GROUP                                                                  RETAINER AGREEMENT
     h.   If a litigated rnal!er proceeds to triaL Cltc·nt shall also he rcyum:d to pay the msts as,ociated with
          Commormcalth 's trial preparation. which the panies hereby agr~e m advance shall he set at three
          hundred tifty dollars !5350.00) per trial1the "Trial Costs") Trial Costs commt>n!y include but arc not
          ltm!led to. photocopying and reproduction cc"ts. notary fee,;. long distance telephone charges.
          mcs;:;cngl..':r and oth~r dclivcl)' ti:cs. pu!\tagc. t1a\·d ~...-u~ls induJing parking:. m1l~agc. lransponation,
          meals. and hotel costs. rmestigation expenses. and other sJmtlar items. The Tnal Costs must be paid
          ,L\ty (60) dav' before the ,cheduled trial date unlc,s otherwise agreed upon by Cnmmom,ealth and the
          Client. The Client shall not be r~sp,msiblc !(Jr. and shall be refunded the T nal Costs if the litigat1on is
          settled at least thirty (30) days ndt)r~ the trial date.

2.8. Additional Fees
 Client agrees to pay an addnional SIO.OO tdephone         paym~nt   proce"mg charge f(,r each time Ciient elects to
 make any payments by telephone

2.9. Increases in Balances of Accounts Subject to Representation
     a.   Client ackn<m ledges and agrees that Client will not continue to incur any additional debt on
          any a~..:counts :-.ubjcct to this Agreement. other than !are fees. interest. and pcnalu~~.    Any additional
          charges you incur atler the Effecme Date on any Debt will 1mpa1r our abiltty to secure settlement
          offers. A<.:~.:ordmgly, you agn.::c not to incur any addiuonal charges on any Debt after the EtTcltivc
          Date. This Agr~cment covers on!y the obligations listed in the attached Creditors Listings. In the
          event. you incur any additional charges on any Debt after the Effective Date. yt>U agree that we may
          adjust the balance of such Debt (as well as the amount of our fee associated "ith the resolution of such
          Debt) to mdude the amount of the additional charges.
     b. Client> program te~s. program length. and dratt amounts may increase due to any additional
        balances incurred by Client.
 2.10. Verifying Your Debt Balance
 If you have completed the Creditt>r Listmg (enclosed mth thiS Agreement and incorporated by reference)
 based on one or more credit card statements dated pnor to the Effective Date. or Without any cred1t card
 s.tatL"ment at all. the Crt:dHors Listing~ may nut retlt:ct the actual amounts owed to ca~h of your Creditor~.
 If we dctem1ine this to be the case. we may. at our discretion. contact some or all of your Creditors to
 ascertain the exact amount owed to such Creditor(s) as of the Effecti\e Date. If we substantiate that the
 amount actually owed to any Creditor on the Effective Date differs trom the amount set forth in the Crcdltors
 Listings. you agree that the amount shall be deern~d restated to retlcct the actual amount uf the Debt as of the
 Fftecti\c Date. with any corrected amount(s) c·onrrolling for all purposes going forward. mcludmg
 calculation of the Retamer Fee and ScrYice Cost charged under the renns uf thi, Agreement.

 2.11. Should Client Default on l\egotiated Settlement Terms
 In tht." t.'\"t:nt Commonwealth negotiates the settlem~nt of u Debt for Client with agn:ed-upon payment terms
 accepted by Client, and Client fails to comply with the terms of the settlement agreement, Commonwealth is
 not reqlllred to rent>gotmte the debts. Cl1ent may request Commonwealth to renegotiate >uch debt. and Will be
 subJc<:t to an additional fee of two-hundred-ninety-nine dollars ($299.00) per renegotiation at the Clients
 expense. Client acknowledges and agrees to the following with respect to any such renegotiation(s):

     a.   The Repre:>entation Standard proviSion only applies to the balance of enrolled debt.
          nor accounting for payments made on initial settlement prior       t0   default
     b.   Renegotiation may n:~ult in the settlement arnounr increasing.

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THE COMMONWEALTH LAW GROUP                                                                        RETAINER AGREEMENT


                                             3. TERMINATION OF THIS AGREEMENT
3.1. Tc,-minatiun          b~   Client

Cli~nt
     may tenninate this Agreement at any time. and t<>r any reason. Should Client terminate this Agreement
b~foreall debts subject to the representation are resol\cd. all sa\ings and unearned fees in Client"s Dedicated
Account will be refunded to the Client.


3.2. Termination by Commonwealth
This Agreement may be tenninatcd by Conunonwealth at any time for t(Ood cause, and upon reasonable notice
to Client. In addition. subject to any appltcabk Jcgal and ethical standards gmwning Commonwealths right to
withdraw representation. Commonwealth may withdraw from representing Client in any litigati<Hl under the
h:nns of this Agn:em~nt ('ithcr W!th ClJ.:-nts cun:;cnt. or \\·ith th.: pt:n11ission l)f th(' coun in which such litigation
h pending.




3.3. Definition of "Good Cause" for Termination by Commonwealth
         a.   Clients Failure to Cooperate with ('ommon"ealth. Cltent must cooperate and comply with all
              reasonable requests by Commonwealth and tts agents in connection \\tth the sen ices to be perforntcd
              under thts Agreement. including requests for information and documentation. re>ponses t,, settlement
              otTers, and mancrs related to an\ litigation. Client acknowledge' and agrees that fatlurc w cooperate
              with Commonwealth is grounds for Commonwealth to temtinatc this Agreement and or to withdraw
              fw111 lt..:pn.:~entation ofC!i~m in any litigation as~ociated with the- LIJ!.!nts tllilurt: to coop~ratc.

         b. Failure to Pa)· Fees and Costs. If Cltcnt tatls to pay the fees and costs required under the terms of
            this Agreement, Commonwealth may tcmtinate thts Agreement and withdraw from representation of
            Client in any litigation associated with this Agreement.
         c.   Failure to Pay Costs of Litigation. In the ncnt that Clknt taib to pay any of the coun lilmg fees or
              other fees or costs associated \\ ith the litigation of a listed debt. Commonwealth will not he
              r~~ponsihk fur at..:ting in r~.?sponsc to tht! lawsuit until such time as the fees or Cllsts a~slx:ialcd with
              the fding have been received by Conunonwealth. Moreover. Client agrees and acknowledges that the
              failure to pay the three hundred lifty-dollar (S350 00) Trial Costs associatd \\ith a trial in a timdy
              manner shall constttute suflicicnt grounds for Commonwealth to \1 ithdra\1 from representing Client
              in ~onncction \\-ith th~ la\v~uit.
         d. Failure to FoUo" Common"ealths Advice on Reasonable Settlements. Client agrees and
            acknowledges that Common\\calth has an obligarwn to Client as both a counselor and as an advocate.
            and that the underlying purpose of the Representation is to negotwte settlement of Clients debts In
            the event that Commonwc·ahh negotiates a rca,onahlc settlement offer and advises the Client to
            accept, ("I ient agrees that he or she shall not unreasonably withhold consent ro accept the oflcr.
            C!t~nt acknowledges and agrees that it is unreasonable to Withhold consent on a settlement offer
            when Client has no valid defense to the litigatton claims at issue or when the settlement offer is
            wtthin Commonwealths Standard of Perfomtance. lf Client refuse,; to consent to a reasonable
            settlement offer. Client agrees that Commonwealth may withdraw trom representing the Client in any
              littgatwn a~~ociated with the :-o..:ttlcmcnt offer at issu..:.



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THE COMMONWEALTH LAW GROUP                                                                   RETAINER AGREEMENT
3.4. Withdrawal from Representation of Client in Litigation

In the ~vent that Cnmmonwcalth is ~ntitlcd to \Vithdraw from any litigatlnn for \\ hatL:v~.:r rl.!aslm. Cl icnt agr\!cs
to execute any documents necessaf) to effectuate thts withdrawal. including. without ltnntanon. the execution
ot a suhstttullon of attomey document that relieves Commonwealth as counsel in the litigation. If Client fads to
execute any necessary document>. Commonwealth may request the court to be relie,ed as Clients attorney tn
that particular matter. Client acknowledges and agrees that Corumonwealths withdrawal from any spccitic
litigation docs not necessarily termmate Clients entire Agreement with Commonwealth for any other litigation
or for any other     scrYiccs   falling within the scop(' of this    Agr.:t~mt.·nt   \lot\\ ithstanding Cornmonv.:c.:ahhs
withdrawal and without regard to the reasons l(lr the withdrawal. Client will remain obligated to pay
Commonwealth l(>r any services pcrf(mncd up tD and including when Commonwealth dcli\crs its withdrawal
notice to Clit:nt or Comml)nwcalth rcl'civc:-; a .:-oun order authoriLing its \vithdrawal.




PRIVATE AND CONFIDENTIAl                                                                                 Fage II
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THE COMMONWEALTH LAW GROUP                                                                         RETAINER AGREEMENT

                                           Section 4: Additional Terms and Disclosures

-'.I. CliE•nh      Rt~"pon!i.ibUities   to Common\\-ealth          J· .\1akc timdy and      ~ompktc puym~nts                     un
                                                                       settkments negotiated by Commonw~alth and
a. In consid~ration of Cormnonwcalths ~xpenenc.:d
                                                                       apprm ~d by Client.
   counselling. worl out a ft:asible monthly
   payment plan based on the total amount of debt                   4,2, Clients AuthoriLations
   to be modi tied, which contemplates all fees and                 ( ·1 ient AuthoriLe::. Comrnonwc:ahh to:
   costs to Commonwealth as wdl as funds to
   deposit for use in settling debb on which                        a To disclo:;e infom1ation rcgardmg Clients
   Commonwealth represents Client. The Payment                         financial   ~:ondition   or status to any cn:ditors and
   Schedule is end<>sed:                                               collectors m connection with elle.:ti1c
                                                                       represcntatwn:
h. Provide Commonwealth wtth accurate and
   complct~ infonnation rdating to an) (_ 'lient's                  b. To hold itself out as Clients representative to any
   financ\!S and the state of Client"s tinancia!                       pany Si."eking to collct:t the dehts listed in this
   hardship as documenkd 111 the attached I lardslup                   Agreentents Creditor Li~ting;
   and Budget lntonnation statement.                                c. To engage cn:dttors anJ col\ectnrs tu n~gotiatc:
L'.   Provide ( 'onunonwealth act.:uralt: and complt:tc                reduction of the debb li,tcd in this Agreements
      infOrmation and documents relating to any debts                  Crednor Listing:
      subject to Commonwealths representation.                      43. ('lien! ,\cknowledgmcnts
      These documents must 1denti tY each debt by
      creditors name. curn:nt at.::count hdlam.:e~. and            Cli..:nt   A..:knowlcdg~~    <.md ag:rt:es that:
      account numbers. Comrnonwl.!alth is unJer no                 a. The Payment Schedule ts based on previous
      obligation to wrify the mformatwn surplied by                    scttl~mcnt a\'t.:rJ.gi..'S achi~v~d            and i...'alculatcd by
      Client:                                                         Commonwealth. Accordingly, the actual amount
d. Forward all correspondence from crcJttors and                      paid into the program may vary. More or less
   collection agencies as soon as possible, but no                    funding may be requtred to ;,ettk all represented
   longer than ti1·e (5) days from receipt:                           debts:

e. Make all payments according to the Payment                       b. The programs contemplated duration is an
   Schedule:                                                           estimate based on full and timdy payment eac:h
                                                                       month as listed In the Payment Schedule. Any
f. Refram tfum discussing debh with creditors or                       van anon of payments, as wdl as many other
      collection agcncit:s when contacted~                             factors, can affect the' length of the program;
g ~oti(v Commonwealth in writing of any                            c. The success of Commonwealths representation
  settlement oflers you recein. includmg all of the                   on any particular debt may vary based on a
  terms and conditions of the offer:                                  numb~r of fach)r~. induding vour l>ngtling ahilit\
                                                                                                         .....   ..           ....    ....    .I


h. Be willmg and abk to atd in negotiations when                      to make timely deposns to your Dedicated
   ncceS>ary, and understand that your level of                       Account, the willingncso. of your creditors to
   involvement will not aft~ct the tenns of this                      negotJatc settlements of your debt and other
   Agreement, but may affect the speed and                            factors that are oursidc Commonwealth's control;
   etTectivcnc"' of Commonwealths dTorts:                          d. Creditors may still contact you regarding debts
1: Respond timely to all re4uesb or                                   subject to thb Agreement. HO\,e\er, you should
   communications from Commonwealth or its                            notify Commonwealth of harassment, as there
   representatives, and promptly provide                              mav be     ~tcps   C'mnmonwt:alth can take ro prevent
   Commonwealth with any change of address or                         or rectify illegal hara>Sment,
      other   conta\.~t   informatimL
PRIVATE ANO CDNFIOEtmAL
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THE COMMONWEALTH LAW GROUP                                                                      RETAINER AGREEMENT
..... An: n.:duct~nn m the amount ow~d by Client ma;                   b,, held rcsponstblc t(n an) negati,·c
      be con;idored a taxahlc event. You should                        c<>nsequence> that ma) occur by such personnel
      (:on~u!t a ta.\ prof¢ssional to dctcn11inc any tax               by their enrnllmcnl inw the Debt Resolution
      dbli~ations  they ma} have as a result of any                    plan.
      sctt!~m~.?nh negotiated on their behalf:
                                                                 l.    IJH.li\ iUual:-. with. or whn are :-.c..::king Security
 r.   The teos and cost; paid to Commonwealth arc                      Clearance. including military members.
      Clllllrcnsation for the sen ices described in the                contractor~ and con.,.ultants, unJcrstand that his
      Scope of Engagement and the funds deposited                      or her Security Clearance may be advef"ely
      into your Dedicated Account arc for the purpose                  affected by delinquent debt accounts and/or a
      of saving funds for settling your accounts with                  decreased credit rating and Commonwealth
      creditors. L'ntil you authoriu and approve any                   Legal shall not be held rcsp<>nsiblc for anv
      such settlements. no payments of any kind.                       negative ~.:onsequcncc:s that may (>Leur by such
      including any monthly minimum payments. will                     pcrsonnd by their enrnllmcnt into the Debt
      be made to your creditors on the accounts: except                Resolution plan.
      those that arc subject to Commonv. calth · s
      Settlement Pre-:\ uthorinllion t(mn v. hich states
      that Commonwealth shall make all reasonabk
                                                                                                           !/(
      efforts to obtain your approval tor any ;enkment
      offer olnained on your he half. In the event
      Commonwealth cannot contact you atier making               4.4. Voluntar~· Participation
      reasonable cft(>rts. you authorize Commonwealth            Client understands that pat1icipation in
      to procee-d with any settlement re:->ulring in a           Commonwealths program is voluntary and you
      ~~wings   of 50~<, or more of your dcht:                   may. upon \\Tittcn n:quc:-;t. can(d Commonwealths
g. You may contmue to incur late fee'> Jnd penalties             sen ices at any ti1ne prior t\) the <)riginal estimated
      on the accounts while cnrolkd in the program.              conclusion date of the program.

h Your partictpatJOn m the program will likely                   C licnt also agree:; that:
  have an adverse etTect on Clients credit score:                a. Early termination may prevent Commonwealth
1.    You should not incur an) new or additi,mal debt               from providing all sen ices outlined herein and
      and should refrain from u~mg or obtaining .:red it            Commonv.calth will not be rcsponsihlc for any
      during the Commonwcalrh debt resolution                       unrcsldved ac~;ounts upon ~ancellarion.
      representation. You understand and agree that ali          b In the event of any early tcm1ination of this
      credit cards or lines of credit shall be closed and          Agreement. all Sercice Costs. Banking Fees. and
      that no additional credit cards or lines of credit           Other Fees that have been earned and collected.
      should be applied for during the Commonwealth                shall be considered earned and are non·
      debt r<:>olution representation. You understand              refundable.
      and acknowledge that you may keep credit cards
                                                                 c.   Lpnn termination ofthi~ Agreement. any funds
      out the program f(>r emergency purpo,es <>Ill)
                                                                      held tn your Dedicated Account. less any
      These credit cards should not be from the sarm:
                                                                      amounts patd or owed in the form of fees and
      issuing bank as any accounts you entered into th<:
                                                                      settlement payments. shall be remitted to you hy
      Commonwealth debt resolution representation:
                                                                      paper check m ACII transfer.
.1·   '\o debts ltsted in this Agreement ha,·e been
                                                                 d. Cornmonwcalth will not collect any addrtional
      secured by any personal or real property.
                                                                    fees that have not prenously become due after
k. Acti\·e. mactive. or former mihtary personnel                      the termination date.
   understand that his/her military rank. pay.
                                                                 e. With Commonwealths permission. you may re-
   and10r benefits may be adversely atlccted by
                                                                      enroll Client Debt:-:> after termmatiun. Any rc
      del lnquc:ut Uc:Ut   a~.:..:ouut:-.   and or a decreased
                                                                      enrollment shall be aJ Commonwealths sole
       credit ratmg and Common\>ealth Legal shall not
                                                                      discreuon and is subject to a Reactivatton Fee m
PRIVATE ANO CONFlOENTIAl                                                                                 iage 13
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THE COMMONWEALTH LAW GROUP                                                                 RETAINER AGREEMENT
   th~ amount of tv..--o   hundrl'd   nindy~ninc   dnHars   4. 7. Additional Disclosures & Disclaimers
   ( S2~<l 00 I
                                                            a. There are other remedies solutions avatlablc f<>r
4.5. Skipped Draft.                                            clicnh to rc!JC\ ~..· thcrnsch t..':"' of their Jeht
a. In the n<:nt Client requests to skip a monthly              burdens. Those remedies include bankruptcy ond
                                                               ,,.-uiJ~u,w.:r   credit counsding. 1Sec Exhibit A ot
   drat\. Cli~nt shallnotit\ Ct>mnwnwcalth at least
   f11c 151 business days pn<>r to the scheduled
                                                               thts Agreement for funher infonnatton).
   draft.                                                   b. Dcclanng bankruptcy may dtschargc or allow a
b. Client will continue to be charged any appltcabk            court tmposed repayment plan for the majonty
   fl:c, anJ cusls fur any    skipp~d   months.
                                                               of Clients debts. Howe\ cr. this will he rctlcctcd
                                                               as a pennanent record on a Clients credit report
c..·\n additional month shall he added onto the                f(lr up to I0 yeaf' Commonwealth will discuss
   Clients program to make up fur each month                   and adnse Client as to the bankruptcy option.
   Client skips a draft                                        mcludmg fees and costs, at any ttmc that Clienh
d. Commonwealth may deny a Skip Rcquc't and or                 circumstances change or Cltent requests such
   hmit the number of apprmed Skipped Drath if                 consultation. Then: arc n~._) additional t~e:-.
   Commonwealth detcnnincs tt 1s in the           Cli~nts
                                                               re-quired from Client for such l'Onsultarion and
   best mterest to continue dra!\ing Clients monthly           preliminary ad,·icc rcgardmg bankruptcy.
   payment Reasons for denying a Skip Request               c Consumer credit counseling may' ha\e less
   may include. but arc not l:mued tel. a resultmg            impact on a Clients crc:dJt ratiilg than
   inahility to ncgntiatc and !--Cttk dr:bts, potential        bankruptcy and reduce interest rates on current
   acceleration of litigatiun and the default of acti\ e       debts. but it gener.t111 requires rc·paymcnt <>f
   settlements                                                 most-to-all of Clients ext sting debt and may not
4.6. Extension     or Representation                           pnwidc significant monthly paym~nt relief

a Subject to th~ tcnns of the Pt:rfonnancc                  -t.S. Confidentiality of Client Information
  Stundard. in the event Clit:llh Jebb an: 1101 fully       Commonwealth agrees that any mformation
   scttkd at the end of the estimated program               pro\ ided by Client will he h.cpl c·onlidential and
   ttmeframe. Commonwealth will automaticall;.              only he used in pnn idmg the       ~cr\'lccs   delineated in
   extend Clients program and continue to drat\             this Agreement. which ma1 include. among other
   Clients monthly payment unkss Client noti i'tc·s         thmgs. dbdo~ur(' of confid('ntial mfvrmation tn
   Commonwealth m writing that Client docs not              appropriate third parties in order to (a) streamline
   wtsh to extend representatton Any fees due               the ncgotiatwn proccs~ and {b) enhance CJicnt:-.
   during the extc.:nsJOn will he rcdw.:ed hy 50°,0         opportunities for settlement offers with Chcnr-
b. Client shall remain responstble t(>r the mc>nthly        variou> creditors. Client agr.:cs and acknowledges
   Legal Administration Fl.!cs during any cxt.:ndcd         that such disclosures "ill be made with Clients
   representation period.                                   express cunsent and wtll not reqUire any additional
                                                            consent or consultation by Client before such
                                                            disclosure> are made.


4.9. Full and Only Agreement
This Agreement is the full and only agreement between the parties. All prior negotiations and
discussions are superseded by this Agreement. Commonwealth has made no representations other than
those expressly set forth in this Agreement. and neither Part)· has relied upon an)· representations or
promises other than those expressly set forth herein.




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THE COMMONWEALTH LAW GROUP                                                                        RETAINER AGREEMENT

                                     5. ARBITRATION AGREEMENT AND WAIVER OF CLASS ACTION

rn the     IO!VCtlt   of any controversy. dnim or dbputc between the     Pa1li~~ a1 i~iug   uut   llf or   rdating to this
agreement or the             br~ach,   tcnnination. cnfon:cmcnt, pcrfomlancc. interpretation or 'a!tdny thereof
ir1duding any ddennination of the s~ope ur applicability of this agreement to arhitrarc, shall be dctennined
by arbitratiOn In the county in which the Client, 111 accordance wirh the laws of the stat.: of the Clients
residence. The Parties agree that the arbitratwn shall be admin1stered bv the Amencan Arbitration
1hsoeiation i"AAA") or JA\1S. or tn the event of the1r una,ailability, an arbitration savtcc with
substantially "milar rules and arbitrator rosters. pursuant to its rules and procedures. and a "ngle arbitrator
shall be selected to preside by the arb1trauon scrvJcc. The arbmator shall be neutral and independent and
shall comply with the relevant code of ethics. Any award rendered by the arbitrator shall be final and shall
not he subject to vacation or modification. Judgment on the award made by the art>itrator ma! be entered in
any court ha\ mg jurisdiction o'er the Pan1es. If either Pany fails to comply with the arbitrar,ns award. the
injured Party may petition the applicable wun !(lf enforcement.
The Panics agree that either Party may bring claims against the other only in his,her or its mdividual
capacity and not a., a plaintiff or class member in any purpL)rt\!d clas~ or r~prcs~ntativc proceeding. Further.
the Partii.'s agrel.' that the arbitrator may not consolidate proceedings of more than on.: pi.'r~uns claims. and
may not otherwise preside m cr an) fom1 of representati\ e or class prnceedmg
The Parties shall share the wst of arbitration, induding attorneys fees. equally. If the Cl icnts share of the
costs is greater than S2,000.IJO (Two-thousand dollars). Commonwealth wtll pay the Clients share of costs
in   l"XCt:SS   of that   amLHint.

Binding arbitration means that both Parties ghe up the right to a trial b~· a jury and their rigbts to
have a dispute resolved in a court of law. It also m.. ans that both Parties gh·o up the right to appeal
from the arbitrators ruling except for a narrow range of issues that can or may be appealed. It also
means that disconf)· may be severely limited by the arbitrator. In addition, under thl' terms of this
Agreement, the parties also giw up the right to bring an~ claims on a consolidated or class action
basis. In addition, certain remedies, such as statutory injunctions and fee shifting, that may be
a•ailable in a court of law rna} not be available in an arbitration.
In   th~   event a Party brings suit agamst the other Party in kdcral. state or local .:ourt instead of proceeding
v. ith arbitration, or       unsucc~s:-.fully
                                  challenges the arhitrators £w.ard. t.lr fails to ..:ornply with the arbitraror·s
award. the other Party is cntitkd to costs of suit, including reasonable attorneys and pamlcgals fcc and
costs tor having to compel arhitration or defend or ent(,rcc the award This section and the requirement to
arbitrate any dispute shall surv1ve any termination.


                                                                                       Initial
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PRIVATE AND CONADENTIAL                                                                                        Page !:i
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THE COMMONWEALTH LAW GROUP                                                                     RETAINER AGREEMENT

                                                     CLASS ACTION WAIVER

Any court trial (whether hetOrc a iuJ.l!:t: or iurv) or arbilration of any controvl.!r~y. claim   1)r di.;.;p11te· hetween th~

Parti~s will take place on an md11idual ba>~s without resort to any iorm of class or rcprcscntati\~ action (the
"Cia" A•tion Wai,er"t. THE CLASS .-\CTIO:\ WAIVER PRECLLDES A"Y PARTY FROM
PARTICIPATI:\G 1:\ OR 8El'\Ci REPRLSEl\:TED Jr-.. A:\Y CLASS OR REPRLSENTA TIVE ACTIO'\
REOARDI!\G A CONTROVERSY. CLAI\1 OR DISPLTE. Each of the Parties waives the right to litigate in
                                                                                                           -           -
court or arhitrak an)· (.:ontro\~rsy. daim or dis put~ bl.!tWc~n th~ Panic~ as a ..:lass act ton. either as a m~1nbcr of a
class or as a rcprcsentati\ e. or to art as a pri' ate attorney gen~ral.

Please consult with independent legal counsel of your dwtce pnor tll signing this agreement a' the class act ton
wat\cr and or binding arbitration re4uircment tas applicable) comaincd herem atfcct your rights !'lease do not
sign this agreement if )OU do not understand these limJtations.




                                                                                         lniliuf:   tltl.
I repre,enl thai I ha••e read, understand and agree ro he hound by the term' of thi' Client Repre,enlation
Agreement as set forth abm•e and in the dot·uments incorporated in thi.\ Agreement. I funher a<·knowledge
that the term., and conditions ofthi., Agreement have heen e.>:plained /lJ my .>ati.'ifal'lion by a repre.\entatit•e of
Commonwealth and that I have no unan.>wered questions about the program or this Agreement. I confirm
that I agree to arbitrate any claim.\ and to wai>·e any right ro bring or participate in a das~· action again.\t
Commonwealth.




                 -- -                        -   ~------·--·--------   --
                Signature oj'Co-Ciicnt




PRIVATE AND CONFIDENTIAL                                                                                     Fage '6
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THE COMMONWEALTH LAW GROUP                                                       NOTICE OF RIGHT TO CANCEL
                                                    Notice of R1ght to Cancel



Date of Transaction:        :\ ):( 20 I X

You may CANCEL thb transactam, wnhout P~nalty or Obligation. tncludmg any agreements you s1gned at the
in-person meeting wnh the Commonwealth attorney and' or paralcga I. l(lr up to Fl \'E BUSINESS DAYS fi·om
the above date.        If you caiKeL 1ou will not be obligat~d to make any paymenb to rhe law tim1 and any
agreements or other documents that you signed will he null and void. To caned this transaction. mail or dcii1cr
a· signed and dared copy of this Cancellatllln Notice            (11   any other IITitten not tee to the addrc;s below NOT
LATER THAN :\IIDNIGHT Of                     .
                                                     I
                                                      .. -lI - . .' '·~·
                                             l'_\·~---'--'---~-~        -.(
                                                                      . /.
                                                                       ~
                                                                         . --
                                                                                    !li1e business da)S atier the Date of
Transaction).

I HEREBY CANCEL THIS TRANSACTION.

Oak·

Clients Name:




( 'lient~ S1gnature.

Co-Clients Stgnaturc:

                                                         Please send to:

                                            Commonwealth Legal Group, LLC
                                            420 Throckmorton Street, Suite 200
                                                  Fort Worth, TX 76102


             (Sign and return this document on~r ifyou decide to C4SCEL thi., transaction within
                         fi••e bu.,ineu days of the Date of Tramaction .\hown abo>'e.)




PRIVATE AND CDNADENnAl                                                                                     Pagel)
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 THE COMMONWEALTH LAW GROUP                                                                    POWER OF ATTORNEY
                                                     Power of Attorney

I/We, Mouiz Elmakhloufi

Located at 106 Fair Acres Circle

In the City of,...;M=:YS::;ti::::_c_ _ _ _ _ _ _, State of _ ___:::C:..:T___,Zip 06355

hereby appoint The Commonwealth Law Group ("Commonwealth") as my/our attorney-at-law to do the acts described in
this Power of Attorney. Commonwealth (and/or its designees) is hereby authorized to act as mytour attorney and to fully
represent me/us in any litigation or negotiation of the modification, reduction, settlement, and payment on any and all .
debts allegedly due and owning in my/our name. Litigation representation includes attendance at required court hearings,
if applicable.

I!We authorize Commonwealth to request and receive confidential credit and account information from creditors, credit
bureaus. collection agencies. creditor attorneys, or any other third parties who may be in possession of such information
and would be viewed by me/us personally.

This Power of Attorney revokes all earlier Power of Attorney given by, or on behalf of, melus relating to all
communications of creditors' claims and shall be effective and binding on me/us until revoked by an instrument in writing
executed by me/us. I!We further authorize Commonwealth to release a copy of this Power of Attorney to my/our
creditors or their agents. A copy of this Power of Attorney shall be deemed as effective as an originaL

Executed on   ~0sqs± a~~~ JDI ~
   tftt/~(J:(~ .                                                                 XXX-XX-XXXX
Client Signature       ~                                   Client Social Security Number



Co-Client Signature                                        Co-Client Social Security Number




  StateofC,ot>.JNgdtcu-}:;               Countyof   \\iew bvt'I)J..o.v
  The foregoing instrument was acknowledged by me this            J~:flt       day   o~, 20_!¥'
  by: \\\o•r I!}      @Qla~h\AA\.            ';'ho is/are personally known by me or who

  has/have produced;       dC1 l (?{:(
                                j        \ l!h1$£i as identification and who did not take an oath.


  Notary Public:



                                    My Commissior Expires June 30, 2020


PRIVATE AND COHfiOEHTIAL                                                                                PagelS
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 THE COMMONWEAlTH lAW GROUP                                                                 RETAINER AGREEMENT

                                            Electronic Payment Authorization

By signing below, I authorize The Commonwealth Law Group (Commonwealth) (or their designees) to process
debit entries from my checking, savings, or other FDIC-insured bank account. This authority shall remain
effective until cancelled by me in writing, at least five (5) business days prior to my scheduled payment due
date. I will provide Commonwealth with a voided check or savings deposit slip.

Name on Account (Please Print): Mouiz Elmakhloufi

Please transfer payments directly from my Checking account, Savings account, or Other account.

Bank Name:C()~1tl)er;\tc,J~fhv .V.+'4 Cce&.f ~)f) '~'i.I"'c
Bank Address: lj 9z \1) '"ma:·cl.. St ree-4

City:~'}.lcduc.-\<                         st:~Zip: O\o.3'7'1
Bank Phone#:         '6 /.oD- $15'-     f(?l]tj
*~Routing# LJ,..L.LJ_I_UL.:UXI~_!._i ...!L.J Account # _ppL1L'I.!.....!.'1~S~D:...__ _ _ _ __
                  hers are always 9 digits long and always start with 0, I, 2, or 3.

                                                Mouiz Elmakhloufi

Signature on Account                              Printed Name                             Date

Attach Voided Check or Savings Deposit Slip Here




                                                                                                  2843
                                                                                            51-78HI2111

                                                                -----.oA'ff

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          R)R .
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                                                              ~----··-··--···-----·--·---·---·······---

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THE COMMONWEALTH LAW GROUP                                                                           CREDITOR LISTING

                                                          Greditor Listing

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       GSBANKUSA                      PLO I 00324 7172      $17,652.00   1         Applicant                 0710L2018

       ELANFINSVC                     403766005620          $13,210.00             Applicant                 07/0112018

         Lending Club                    92281133                                  Applicant                 07;01/2018

        FM/CITJZENS                      1701524             $6,686.00             Applicant                 07/01/2018




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 THE COMMONWEALTH LAW GROUP                                          ElECTRONIC COMMUNICATION VERIFICATION

                                      Electronic Communication Verification


 Please print your email address on the line below:

  mouize !963@gmail.corn

 You will receive an email of the Letter of Engagement and other documents executed today in the next three (3)
 business days. In case you do not receive an emailed copy, due to faulty address or lack of email address
 provided above, you will still receive copies of these documents with your Welcome Package. The Welcome
 Package will be mailed to you shortly after you are enrolled.

 Please initial here to indicate you understand the above terms of email deli very:
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 THE COMMONWEALTH lAW GROUP                                                     HARDSHIP AND BUDGET INFORMATION

                                                Hardship and Budget Information
Reason for Hardship
            Temporary Loss of Work                                       Company Reduced }fours
            Loss ofJob                                                  Pay Cut
            Medical Problems                                            Disability
            Persona/Injury                                              Loss of Spouses Income
            Divorce                                                •    Other

Please Briefly Explain Hardship: Interest rates too high, can only make the minimum payments

BUDGET ANALYSIS
    Client Net Monthly Income                                            Funds Available

    Co-Client Net Monthly Income

    Total Income



       Mortgage/Rent                                               Household Items

       Home Owners Insurance                                       Clothing

       Life Insurance                                              Laundry/VI)' Cleaning

       Medical Care                                                 Utilities

       Child Care I Support I Alimony                               Telephone

       Cable TV I Satellite                                        Auto Loans

       Charity I Donations                                         Auto Other

       Entertainment                                               Auto Insurance

       Gym/Health                                                  Education

       Personal Care                                               Student Loans

       Back Taxes                                                  Mise/Other

       Food                                                        Total Expenses

           By n~cUfing this ct(lreement. ygu are representing that ygu hcwe considered these other options ctnd further, that
           you lrcwe provided us with CICCUrate lnformotlon, lndudlng ygur /fnondallnformcttion and the state ctf ygur ftnonclal
           hardship os rlocumentlrd In your hordshlp statement.


                                  /'I(   c.__   .J c u)      Lo 9 V1        c
PRIVATE AND I!DHADENTIAL                                                                                       Page22
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THE COMMONWEALTH LAW GROUP                                            DISCLOSURE AND ELECTION OF SERVICES

                               Bankruptcy vs Debt Negotiation and Election of Services
Bankruptcy and Debt 'iegotiation                                      I A) All lnt(mnatton that the assisted pc:rsun h
                                                                      rcquir~d to pro\ irle wirh :l rl~rition :l!ld thcreaftt..~r
t~~)tnm~mwcdlth   i:-; ,, full-sen   tLC   ddll tc-:-,ulutivu lct\\
                                                                      during a ..:a~c und\?r this titk is rc<.Juin:d to b\,.·
firm 11 hich provides sernc" mcluding debt
                                                                      Ccllnplct~. accurate. and truthful:
negotiation and rcstructunng and bankruptcy
scrvtccs. The f(>llowing provides infom1ation about                   I B) All a"cts and all liabil1tics arc rcquir~d to be
these approadtcs to debt rcscllution l(lr your re1 icw.               complete!) and accurate!) dtsclosed 10 the
Clients should tully understand the adv amag~s and                    documents ftkd to commence the case. and th~
disadvantages of each to make an infomtcd                             rcpla2ement value of each a..;set a::- ddined in
dt.:cision.                                                           s~ctlon 506 mu..;;t he stated in those do~:umcnb
                                                                      "here requested alter reasonable mqutr] to
Bankruptq
                                                                      establish such value:
Bankruptcy will usually discharge your unsecured
                                                                      I C) Current monthly income. the amounts specified
debt and your creditors arc not pennntcd to contact
                                                                      in ..;cction 707(h) (2). and. in a ca~~.;" under chapt<.:r
you once you have filed 1.\ith th1..· ~..:ourL Th~rc- arc
                                                                      13 of this title. disposable mcome (determined in
two kinds of bankruptcy. Chapter IJ bankmptcy
                                                                      accordanc~   with section 71l7tb) (2)). arc required to
\vhcrc you an: generally able to kt·cp property that
                                                                      he stated after n:as•.mabk inqwry; and
is mortgaged. such     a~   your house or car. and arc
expected to repay debts in three to live years. and                   10) lnformauon that an assisted person provides
Chapter 7 bankruptcy where 1 ou must gl\ c up all                     during their case may be audited pursuant to this
non-exempt property and assch that you O\\ n in                       t1tlc. and that failure to rnl\ ide such infonnation
exchange for a di:-.chargc vf must d~.·bt. H.:mkruptcy                ma! ri.!~ult in dismis:;al of the case
may be appropriate if you ha\c pending
                                                                      under this title or other sanction. 111cludmg a
foreclosures,   collectiOn     litigatillll or   wage                 nimlnal san1.:tion.
garnishments: howt!vcr, you ma~ have issues in
reestablishing cr~dit for up to ten years. In 2005.                   I:VIPORTA'iT   I~FORMAT((t'   ABOUT
the bankruptcy Ia\\ wo:l:o; changed tn make it mor~                   BA!\"KRLPTCY   ASSISTA-'CE  SERVICES
difficult for some '"m;;umcrs to tik Chapter 7                        FRO\t A'i ATTOR'iEY OR BAl\KRUPTC\
lMnkruptcy ha:,cJ on a financial means test and                       PETITIO'i PR}~PARER
12rcdit counsding rc4uircment..; t!u.t may rcqum.· a
repayment of some of y uur debt.                                      If you decide to seck bankruptcy relief. you can
                                                                      represent yourself: you can hire an attorney to
Commonwealth i' a debt relief agency under the
                                                                      represent vou. or you can get help in some localities
L;nitcd States Bankruptcy Code Sectlllns 527 I a)                     from a bankruptcy pc:ition prcparcr v. ho is not an
and (b). and we arc required to pro1 tdc the
                                                                      attorney. THE LAW REQLIRES A~ ATTOR'\EY
fOiknving mformation and Il(lti~e:                                    OR BA:\KRUPTCY PETITIO:\ PREPARER TO
A debt relief agency pro\ iJing bankruptcy                            GIVE      YOL      .".  WRITTEi\       CONTRACT
assistance to an assisted person shall provide-                       SPECIFYI'JG WHAT THE ATTOR'iE'l' OR
                                                                      BANKRUPTCY PETITIO'.; PREPARER WILL
( I) The wnttcn rll>ticc required under section 342(b)
                                                                      DO FOR YOU Ai'D HOW \1\X'H IT WILL
(I): and
                                                                      COST. Ask to sec the contract before you hire
(2) To the c.,tcnt not co,crcd in the written notioc                  anyone.
described in paragraph (I ). anJ not later than 3
                                                                      The fol\owmg information will h<·lp you to
husin~s~ days after the first datt: lH1 which a debt
                                                                      understand what must be done in a routine
relief agency first offers to prov1de any bankruptcy
                                                                      bankruptcy case and will help you to evaluate how
assistance services to an a~sistcd person. a d~;lf and
                                                                      much asststance you may need.            Although
conspicuous written notice advtsing assisted
                                                                      bankntptcy can be complex, many cases arc routine
persons that
PRIVATE AND CDNFIOENTIAL                                                                                        Page 23
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 THE COMMONWEALTH LAW GROUP                               DISClOSURE AND ElECTION OF SERVICES
Before filing a bankruptcy case, either you or your      Debt Negotiation
attorney should analyze your eligibility for different
forms of debt relief available under the Bankruptcy      Debt Negotiation is a process where the law firm,
Code and which form of relief is most likely to be       based on your specific circumstances, develops a
beneficial for you. Be sure you undc"tand the            plan to manage your debt resolution with your
relief you can obtain and its limitations. To file a     creditors. In general terms, it is a process of
bankruptcy case, documents called a Petition,            negotiating with your creditors for a lower balance
Schedules and Statement of Financial Affairs, as         or forgiveness of debt, a reduced interest rate, a
well as in some cases a Statement of Intention need      reduced monthly payment or other restructuring
to be prepared correctly and filed with the              alternatives. To be successful in debt negotiation,
bankruptcy court. You will have to pay a filing fee      you need to have sufficient cash flow to meet your
to the bankruptcy court. Once your case starts, you      living expenses each month and provide some funds
will have to attend the required first meeting of        towards resolution of your debt.
creditors where you may be questioned by a court         If appropriate for your situation, Commonwealth
official called a 'trustee' and by creditors.            will contact your unsecured creditors in writing to
If you choose to file a chapter 7 case, you may be       notify them that you are represented by the law firm
asked by a creditor to reaffirm a debt. You may          and that we arc advising you as to all alternatives
want help deciding whether to do so. A creditor is       for debt resolution. As you have indicated in
not permitted to coerce you into reaffirming your        your compliance review, you prefer Commonwealth
debts.                                                   to attempt debt negotiation as an alternative to
                                                         bankruptcy or other options. However, if your
If you choose to file a chapter 13 case in which you     financial circumstances change, we will advise you
repay your creditors what you can afford over 3 to 5
                                                         as to other debt resolution alternatives, including
years, you may also want help with the preparation       those outlined above, so you can make an informed
of your chapter 13 plan and with the confirmation
                                                         decision based on our advice.
hearing on your plan which will take place before a
bankruptcy judge.
                                                         If you have any questions regarding the above
If you select another type of relief under the           options, please contact us for further explanation. If
Bankruptcy Code (other than chapter 7 or chapter         you are ready to proceed, sign below your
13 ), you will want to find out what should be done      acknowledgement that you have reviewed the
from someone familiar with that type of relief.          available debt resolution options and have
                                                         determined that debt negotiation by Commonwealth
Your bankruptcy case may also involve litigation.
                                                         is your preference, subject to your ability to request
You are generally permitted to represent yourself in
                                                         a different alternative if your circumstances change
litigation in bankruptcy court, but only attorneys,
not bankruptcy petition preparers, can give you
                                                         in the future.
legal advice.


I have reviewed all debt resolution options available to me Including doing nothing, rding for bankruptcy
and consumer credit counseling, and elect to pursue debt negotiation services with Commonwealth,
subject to my ability to request other alternatives, based on changes In my financial circumstances.


Client                                                                  Date   2;' )b-( S'-
Co-Client                                                               Date_ _ _ _ _ _ _ _ __



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THE COMMONWEALTH lAW GROUP                          DISClAIMER - SETTLEMENT OF CREDIT UNION ACCOUNTS
  Disclaimer- Settlement of Credit Union Accounts

  This confirms my/our understanding and acknowledgement that, in the experience of Commonwealth,
  credit union debt accounts are often resolved for higher settlement amounts, meaning that such debts
  may cost me/us more to settle and result in smaller reductions from the debt amounts at the time of
  enrollment.

 1/we acknowledge that my current credit union account(s] that are to be enrolled into the program are
 NOT cross-collateralized with any other credit union obfigation(s). 1/we understand that in the event it
 Is later determined that any enrolled credit union account is cross-collateralized with any other credit
 union obligation that any enrolled credit union account(s) would be removed from the program and
 become my sale obligation to be resolve in the manner I see fit.

 Further, 1/we acknowledge that Commonwealth would thereby have no obligations to represent me
 regarding these accounts whether ongoing or in the future.




                                                       Co-Client Signature

 _M_o_u_iz_E_Im_akhl_o_u_fi_ _ ,Date   R' -J/r /Y     _ _ _ _ _ _ _ _ _ .Date_ __
 Client Name                                          Co-Client Name




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 THE COMMONWEAlTH LAW GROUP                             DISCLAIMER - SETTLEMENT OF STUDENT LOAN ACCOUNTS
                          Dlsdaimer- Settlement of Private Student Loon Accounts


  This confirms my/our understanding and acknowledgement that, in Commonwealth's experience, private student loon
  accounts may cost me/us mare to settle and result In a smaller reduction from the debts at the time of enrollment. 1/we
  acknowledge that my private student loon account(s) that are to be enrolled into the program are NOT cross-
  collateralized with any other obligations with the some lending institution, ore unsecured, and are not federally-backed
  loans. 1/we understand that in the event it is later determined that any enrolled private student Joan account does not
  meet the criteria above, Commonwealth shall have the right ta remove such account from the program and the
  ;emoved account shall become my sole obligation to be resolved in the manner I see frt.              1/we acknowledge
  Commonwealth would thereby have no obligations to represent me regarding any removed accounts whether ongoing
  ar In the future.



  Furthermore, 1/we understand private student loan accounts tend to hove significantly higher overage enrolled
  balances than those of traditional unsecured credit obligations. Accordingly, 1/we understand that private student
  loon accounts may require a longer period of time to resolve when compared to my/our other enrolled accounts.




  Oient Signature:   ~fn OU, ·( Co-Client Signature: Date:
                           0 ~Jb-t-g-J
 Client Name: Moulz Elmakhloufi               Co-Client Name:




PRIVATE AND CDNRDENTIAL                                                                                  Pege 27
